
FOLLETT, J.
—None of the defendants m the action appeared except the Hercules Land Company, the owner of the fee of lots 67 and 72, which appeared, but did not answer. After the time to answer had expired, the plaintiff moved for judgment, and served on the attorney of the land company a notice of motion. The land company failed to appear, and the court appointed a referee to compute the amount due on the mortgage; and on the filing of his report, which was done the next day, granted the usual judgment of foreclosure. The land company insists that the judgment was irregular, because notice of the hearing before the referee was not given. Computing the amount due on the mortgage was but an incident to the application for judgment, and the compulation might have been made by the court, or it might, as it did, appoint a referee for the purpose. The plaintiff’s practice was regular, and the land company was not entitled to have the judgment opened on the ground that notice of the hearing before the referee was not given. The mortgage, when given, covered lots 59, 60, and 72. Three years afterwards, on the 3d day of August, 1887, the mortgage conveyed lots 67 and 72 to Frank L. Anderson. The affidavit of the plantiff's attorney states that the conveyance was made subject to the lien of the mortgage, which the grantee convenanted and agreed to pay. This fact is not disputed by the defendants’ affidavits. By this transaction lots 67 and 72 became primarily liable for the payment of the mortgage, and lots 59 and 60 were secondarily liable. July 2, 1888, Frank L. Anderson conveyed, by a deed recorded J uly 23, 1888, lots 67 and 72 to Charles P. Brandel, subject to the mortgage, the grantee conveuanting to pay the amount due thereon. July 11, 1890, Charles P. Brandel, by a deed recorded July 10, 1890, eonved lots 67 and 72 to Fletcher Barron, subject to the mortgages, all of which the grantee convenanted to pay before January 1, 1891. April 15, lo92, Fletcher Barron conveyed lots 67 and 72 to the Hercules Land Company by a deed recorded April 18, 1882. The grantee in this deed did not convenant to pay the mortgage, and here is no reference thereto in the deed, but reference is expressly made in the deed to the conveyance from Brandel to- Barron. By this *641reference the land company had notice that by agreement between the parties in interest lots 67 and 72 were primarily liable for the payment of the mortgage, and it is not in a position to assert the rule that in mortgage cases the land mortgaged is to be sold in the inverse order of alienation. It is nowhere asserted in the record that lots 67 and 72 have been released from the lien of the mortgage, except as the result of the rule last referree to. It is asserted in the moving affidavits that when the mortgagor conveyed to Anderson the mortgage received $1,100, which was the amount of the mortgage, for the release of lots 59 and 60; but there is no assertion that lots 67 and 72 were released. It is entirely immaterial what considertaion the mortgage received for the release of lots 69 and 70, provided the parties in interest then agreed that the mortgage should remain a continuing security on lots 67 and 72.
The order appealed from should be reversed, with $10 costs.
All concur.
